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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

AC2T, Inc., d/b/a
Spartan Mosquito,

Case No. 2:19-cv-5946-RBS
Plaintiff
v.

Colin Purrington,

Defendant
DEFENDANT’S ANSWER WITH NEW MATTER AND COUNTERCLAIM

 

Defendant Colin Purrington, PhD., by and through his attorney, Trevor C. Serine,
Esquire, files this Answer with New Matter and Counterclaim to the First Amended
Complaint of Plaintiff AC2T, Inc. (“Spartan”) pursuant to 27 Pa. C.S.A. § 8301 e¢ Seq.,
the Noerr-Pennington Doctrine on the First Amendment protections, 42 Pa. C.S.A. §8342

et seg., and the common laws of this Commonwealth, pleading as follows:

1, Admitted to the extent that business records reflect that Spartan is a
Mississippi Company.
2. Admitted to the extent that Defendant Colin Purrington, PhD, holds a

doctorate in biology, completed an undergraduate entomology course, and
currently publishes an environmental blog (founded in 2011) and resides in
Swarthmore, Pennsylvania.

3. Denied. The Court lacks subject matter jurisdiction under 28 U.S.C.
§1332 because the amount in controversy does not exceed $75,000.00 — in fact,
Plaintiff cannot identify, and has not pled, a single monetary harm to its business.
Moreover, Spartan is not authorized to distribute the “Mosquito Eradicator” within

the Commonwealth of Pennsylvania, as it apparently voluntarily withdrew its
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registration with the Pennsylvania Department of Agriculture due to its inability to

“address [the Pa Dept. of Agriculture] identified problems,” reproduced here:

PA STATE AGENCIES ONLINE SERVICES
Tom Wolf, Governor

Pesticide Registrant Brand Information

Company Details

OO8AHV | AC2T Inc d/b/a Spartan Mosquito | Attn Joshua Mars, PO Box 18556, Hattiesburg, MS 39404 | P1: 601-427-1405

Program Status: Active

Brand Details

Brand Name: Spartan Mosquito Eradicator
Brand ID; 35610 Registration Fiscal Year: 2019
Type: Pesticide Registrant Status: Active
Issue Date: 11/19/2018 Dual Brand: No
Original Effective Date: 02/06/2018
25{b): Yes
EPA Number: 99999-99999
Class:
Toxicity:
Brand Purpose: Not Available
Additional Information: paper 2021 renewal voluntarily withheld by registrant pending address of PDA's identified problems

The “Eradicator” is now illegal to sell or ship to this Commonwealth pursuant to
the Pa. Pesticide Control Act, in addition to being banned or prohibited from sale
in a dozen other states. Further, upon information and belief Spartan no longer
manufactures or sells the “Eradicator,” and cannot identify any harm or damages
resulting from any statements from the Defendant and is not entitled to relief. See,
e.g, Williams v. Best Buy Co., 269 F.3d 1316, 1321 (11th Cir. 2001); Pesticide
Registrant Brand Information, Pennsylvania Bureau of Plant Industry,
https://paplants.pa.gov/ProductRegFS A/Brandinfo.aspx.

Admitted.

Denied in part. This statement is demonstrably false, i.e., that the
product is “government regulated” (and which is repeated ad nauseum throughout

the Complaint). Yet, on the retail box containing the “Eradicator,” it states: “this
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25(b) product is exempt from registration with the Federal Environmental

Protection Agency under FIFRA [regulations].”

 

According to the label on its own product, it is not regulated by the EPA. Thus, the
averments by Spartan regarding government regulation are knowingly false —
Spartan specifically applied for an exemption from FIFRA regulations under 40
C.F.R. §152.25(f)(1). Thus, the averment that “the product is government
regulated” implying federal EPA review or approval, is false, malicious, and made
in bad faith — the “Eradicator” is specifically exempt from regulation by the EPA
under FIFRA.

It is admitted to the extent that Defendant repeatedly engaged with state and
federal regulatory agencies, and petitioned his government and encouraged others
to do so regarding the Spartan “Eradicator.” Spartan manufactured, at one point, a
product called the “Mosquito Eradicator” which it claimed was scientifically
proven to be “uniquely effective, long-lasting, continues mosquito control
system.” Spartan stated within its advertisements and upon its packaging and
labeling that “the mosquito population...will be 95% controlled for up to 90
days.” It is denied that any statements were untrue or defamatory — the statements
were true, protected by Statutory Immunity, and otherwise merely opinions,

scientific deductions, or protected speech. Indeed, a class action has been filed in
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New York! against Spartan for fraudulent misrepresentation, false advertising, and
product liability regarding the claims of Spartan for its “Eradicator.”

It is further specifically denied that the “Eradicator” contained a pesticide, as
falsely alleged within this Paragraph — pesticides and active ingredients are strictly
defined and regulated by the EPA and Congress under 7 U.S. § 136°. The
“Eradicator” was submitted to the EPA by Spartan and specifically granted a use
only under “FIFRA exempt” designation pursuant to 40 C.F.R. § 152.25",
According to Spartan’s registration with the Commonwealth of PA, (PA Product
No.: 35610), it lists no active ingredient or pesticide. NPIRS Public Report

reproduced here:

 

PENNSYLVANIA STATE PRODUCT REPORT

Company Number: 803 xdenotes ALSTAR label is available
AC2T Inc d/b/a Spartan Mosquito

Atm Joshua Mars

PO Box 18556

Hattiesburg MS 39404

Number of Currently Registered Products: 3

 

SPARTAN GO

EPA Registration Number: 933962-1-939819 PA Product Number: 40851 Registration Year: 2021
Percent Active Ingredient

20.0000 Picaridin (70705)

 

SPARTAN MOSQUITO PRO TECH

EPA Registration Number: 93819-1 PA Preduct Number: 41440 Registration Year: 2021
Percent Active Ingredient

9.0400 Borie acid (11001)

SPARTAN MOSQUITO ERADICATOR

EPA Registration Number: 99999-99999 PA Product Nunsber: 95610 Registration Year: 2020
Percent Active Ingredient

No ingredient data available.

Moreover, Spartan stated that there are only three (3) ingredients within its

“Bradicator” — 88.34% Sugars, 11.48% Salt, and .18% Yeast [CAS#68425-17-2;

1 Consolazio, etal v. AC2T. INC, Bonner Analytical Testing Co., and Jeremy Hirsch, 1:20-cv-03477, S.D. N.Y.
2020.

2 7US. § 136(a)— “Active Ingredient means (1) in the case of a pesticide... an ingredient which will prevent,

destroy, repel, or mitigate any pest.”

3 40 C.F.R. § 152.25(f) minimum risk pesticides; see (2) permitted inert ingredients.

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CAS# 7647-14-5; CAS#688876-77-7]. All are designated by the EPA to be “inert
ingredients,” hence, exempt from regulation.

Table 2 — Inert Ingredients Permitted in Minimum Risk Pesticides”:

Tape 2 - Inert Increorents Peramirres in Minimum Risk PesTicipe
PrRopucTs

  

Label display name Chemical name

 
 
 
 
 

Syrups, hydrolyzed starch, Syrups, hydrolyzed starch,

| 68425-17-2
hydrogenated hydrogenated 42

| Sodium chloride | Sodium chloride ¥647-14-5
Yeast Yeast | 68876-T7-7

Thus, the “Eradicator” contains no true active ingredient pesticide, and therefore

this averment is knowingly false. See 7 U.S. § 136(a). Further, none of the three

 

ingredients, Yeast, Sugar, or Salt, “prevent, destroy, repel, or mitigate” mosquitoes
— indeed, the Yeast feeds upon the Sugar to create Carbon-Dioxide [CAS# 124-38-
9], another inert ingredient upon the aforementioned Table 2 — attracting
mosquitoes without mitigation. See 40_C.F.R. §152.25(f(2)(Gv). Interestingly,
Jeremy Hirsch has personally admitted in written communications to state
regulatory agents that his product only produces CO2 for at most, “a few days vs.
just a few hours...with the addition of salt in specific quantities (such as in the
Eradicators).”° No facts or evidence supplied by the Plaintiff demonstrates the

“Eradicator” actually prevents, destroys, repels, or mitigates mosquitoes.

4 40 CFR. Section 152.25(f(s)(iv), consolidated.
5 Letter from Jeremy Hirsch, President of AC2T, Inc. October, 2019 to the Indiana Office of Pesticide Registration.
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LASTS UP TO 90 DAYS

JUST ADD WATER AND SHAKE

_ mosquito control sy
batteries or el
_ suffer dramatica

 

Here, Spartan is claiming on its box that it creates a “barrier,” attracting
mosquitoes and killing them. Claims of “barriers” are explicitly not permitted with
any type of toxicant, and may only be used by “products that are intended to
exclude pests only by providing a physical barrier against pest access, and which
contain no toxicants, such as certain pruning paints to trees.” 40 C.F.R. 152.10(c).

Moreover, Jeremy Hirsch has personally admitted in written communications to
state regulatory agents that his product is potentially misleading to the average
consumer - “We are completely open to changing the layman’s expression of how
mosquitoes die because of our devises, but based on known science, we figured
this was a fair and balanced explanation for the average consumer.”° Thus, as a
matter of fact and law, Spartan is in violation of federal regulations, and the
statements of the Defendant are true. Further, the theoretical reason behind the
company seeking a FIFRA-exempt designation for its product is clearly an opinion

of the Defendant and is in no way defamatory.

6 Letter from Jeremy Hirsch, President of AC2T, Inc. October, 2019 to the Indiana Office of Pesticide Registration.
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Finally, communications to state regulatory agencies and third parties are
constitutionally protected, and this Complaint is merely an illegal attempt to
silence or otherwise chill the speech of a concerned scientist, the Defendant
herein, petitioning his government and regulatory bodies, in violation of the Anti-
SLAPP Act. See, The Participation in Environmental Law or Regulation Act, 27
Pa. C.S. §8301, ef seq.; see also, Penllyn Greene Associates, LP v. Clouser, 890
A.2d 424, (Pa. Cmwth. 2005).

Denied as stated. It is admitted that Defendant submitted dozens of
comments to public agencies, non-profits, state and federal regulators, and
petitioned the public to boycott or otherwise report the “Eradicator” to their
respective state regulatory body. It is denied these statements were defamatory;
these statements are granted immunity by the Constitution of this Commonwealth,
are true or reasonably true, are opinions of the Defendant, and are protected speech
under the First Amendment of the Federal Constitution. See 27 Pa. C.S. §8301 et.
seq. Penllyn, 890 A.2d 424, supra; 42 Pa. C.S. §8342, ef seg. Following the
reports and petitions to the state and federal agencies, the “Eradicator” product
was banned for sale to the public in at least eleven (11) states, Puerto Rico, and the
District of Colombia, including this Commonwealth, until Spartan withdrew it
from the market.

Admitted to the extent that the Defendant is a PhD. biologist and retired
biology professor previously employed at Swarthmore College. It is admitted that

Defendant used his rigorous scientific education and knowledge of the scientific
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method to conduct evaluations of the “Eradicator” he purchased, which he then
published on his blog, demonstrated conclusively to him that the “Eradicator”
product did not attract or kill mosquitoes — and certainly not “95% for 90 days.”
Defendant submitted the data and comments to state and federal environmental
agencies. Moreover, in his statement, Defendant opined about the scientific
consensus — a consensus, defined by Merriam-Webster’s Dictionary defines it as:
“1. General Agreement about something, an idea or opinion that is shared by all
the people in a group.” Here, there are no independent scientific studies which
support the “Eradicator” toxic salt/yeast bait trap, and Spartan cannot point to a
single independent study, nor provides any scientific internal data, to demonstrate
its “Eradicator” trap can successfully kill 95% of mosquitoes for a period of 90
days. Conversely, Defendant can cite numerous peer-reviewed’ *and independent
studies’ which conclusively prove the scientific consensus that toxic salt/yeast bait
mosquito traps are entirely ineffective for essentially any period of days. A
seminal report (Yee, 2020) published in the Journal of Medical Entomology,
authored by a team of scientists led by the University of Southern Mississippi at
Hattiesburg (the home state and town of the Plaintiff) in conjunction with: the

University of Sydney Medical School and the New South Wales Health Pathology

7 Yee, D.A., Dean, C., Webb, C., Henke, J.A., Perezchica-Harvey, G., White, G.S., Faraji, A., Macaluso, J.D., &

Christofferson, R. (2020). No Evidence that Salt Water Ingestion Kills Adult Mosquitoes (Diptera: culicidae).
Journal of Medical Entomology, 58(2), 767-772. ~ See Exhibit “A”

8 Patrick, Marjorie & Aimanova, Karlygash & Sanders, Heather & Gill, Sarjeet. (2007). P-type Nat/K+-ATPase

and V-type H+-ATPase expression patterns in the osmoregulatory organs of larval and adult mosquito Aedes
aegypti. The Journal of Experimental Biology. 209. 4638-51. 10.1242/jeb.02551.
9 Aryaprema, V.S., Zeszutko, E., Cunningham, C., Khater, E.LM. & Xue, R. (2020). Efficacy of Commercial

Attractive Toxic Sugar Bait Station (ATSB) Against dedes albopictus, Journal of the Florida Mosquito Control

Association, 67, 80-83. - See Exhibit “B”
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Hospital, both in Australia; Coachella Valley Mosquito Control in Indio,
California; Salt Lake City Mosquito Abatement District of Utah; and, the School
of Veterinary Medicine of Louisiana State University in Louisiana, found that
toxic salt bait traps are not effective for mosquito control or reduction and have
zero scientific basis.

Therefore, the statement that there is a scientific consensus against these types of
toxic salt/yeast bait “Eradicator” products, is unequivocally true.

Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, the statements made
by the Defendant are true, reasonably true, covered by immunity, are opinions or
deductions of the Defendant, are based upon personally observed scientific testing
of the product, and are protected by the First Amendment. Further, the Plaintiff
cannot show facts, data, testimony, and has not pled any evidence, that the
“Eradicator” is 95% effective for up to 90 days. Further, Plaintiff specifically
makes repeated unsupported claims regarding the ability of the “Eradicator” to
control mosquito-borne diseases - thus the response from the Defendant is logical,
truthful, and merely a deductively-reasoned opinion based upon unsupported,
unscientific statements regarding the “Eradicator.” Defendant supported his
statements with video evidence and efficacy data, and specifically communicated
these findings to state, federal, and non-profit agencies and petitioned the public

for action.
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9. Admitted to the extent that Spartan, at one point, manufactured the

“Eradicator” product at issue herein, claiming it can “eliminate 95% of the

mosquito population for up to 90 days” [emphasis supplied].

 

False and misleading statements on a label are a breach of EPA conditions. See 4
CFR 156.10(a)(5)(G) — (viii).

10. Denied as stated. The “Eradicator” on its face cannot be designed to
“substantially reduce a local mosquito population” when it contains no active
ingredients and has zero independent scientific basis for said claim. Indeed, within
the Journal of Medical Entomology, Yee stated, “there are no known scientific
efficacy data to that support these claims [that ingestion of salt will significantly

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reduce populations of wild mosquitoes]. The Spartan claims regarding the

10 Yee, D.A., Dean, C., Webb, C., Henke, J.A., Perezchica-Harvey, G., White, G.S., Faraji, A., Macaluso, J.D., &
Christofferson, R. (2020). No Evidence that Salt Water Ingestion Kills Adult Mosquitoes (Diptera: culicidae).
Journal of Medical Entomology, 38(2), 767-772.

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“Eradicator” constitute false advertising. Indeed, Spartan claims that, “we tested it

from the Atlantic to the Pacific and beyond, from the marshes in Florida to the

bayous in Louisiana, and everywhere we test, it works phenomenal...in every case,
mosquito ‘hits’ are reduced to near zero, or zero, within weeks or even days.”'!
Defendant specifically reported these false advertising concerns to the FTC.

11. Admitted to the extent that the Defendant is a PhD. biologist and retired
biology professor previously employed at Swarthmore College. Defendant used
the scientific method to evaluate the “Eradicator” in tests, which demonstrated
conclusively to him that the “Eradicator” product did not kill mosquitoes in any
sense of the word — and certainly not “95% for 90 days.”

12, Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, Defendant made no
defamatory statements; the statements were all true, or reasonably true, granted
immunity by the Constitution of this Commonwealth, are opinions of the
Defendant, and are protected speech under the First Amendment of the Federal
Constitution.

13. Admitted to the extent that Defendant opined that, after his scientific
evaluation of the product, the “Eradicator” was a “scam,” as it did not function
according to its stated purpose and advertising. Spartan, upon information and

belief, no longer sells the “Eradicator,” an acknowledgment by the Plaintiff that its

product, the “Eradicator” is not effective at controlling mosquito-borne diseases.
1] Hattiesburg Man Invents Product to Control Mosquitoes. WDAM. May 12, 2017. - See “Exhibit “C”

1]
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14. Denied. This statement by the Defendant is clearly an opinion (and
which also is truthful) that a product advertised to “eliminate 95% of mosquitoes,”
that does not work as advertised, increases the risk of mosquito-borne illnesses,
due to the incorrect belief of the consumer that they are protected by
“elimination.” The product is even inappropriately named “Eradicator” to
convince the consumer that it actually removes or eliminates pests. The product's
label even shows an anthropomorphic representation of its device protecting a

young family and its beloved dog:

wotect your
it from_mosquito
rest in oe

Eradicators and
- your outdoors
ARTAN WAY!

 

More importantly, these comments were in direct response to the Plaintiff ‘s public
relations campaign that its “Eradicator” can help control the spread of mosquito-
borne diseases — i.e., the Plaintiff has “invited” the comments by making
unsupported, wildly illogical and unscientific claims regarding its “Eradicator”
product. Jeremy Hirsch and Spartan have been engaged in a public relations
campaign since at least May of 2017 to explicitly convince the public that its

“Eradicator” product was effective at reducing mosquitoes that carry Zika and/or

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other mosquito-borne iilnesses.'7 Some of Jeremy Hirsch's various PR statements
regarding the “Eradicator” -- “the most successful response to Zika anywhere in
the world on record””, and, “anyone can use this from municipalities
to..residential is really what we care about most...it was founded to keep my
family safe. The point of this is to keep everybody’s family safe!” and “by
bringing a product to market that is better than sprays, repellents, candles, and
repellent services, at a price point that is a fraction of the cost of professional
spray services, we have opened up the market’” It is a violation of EPA Condition
4 for a product claiming to control or mitigate insects...carrying specific diseases.”
See EPA 25(b) Condition 4'°.

Defendant’s statements specifically responded to the perceived threat to the public
if the “Eradicator” was distributed as a mosquito-borne disease prevention tool —
which is exactly what Spartan is attempting to do.

15. Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, the statement is true,
reasonably true, and may contain opinion — but is entirely based upon the scientific
tests performed by the Defendant personally. In his studies and observations,
mosquitoes in the wild were not able or not willing to enter the holes provided

upon the “Eradicator.” Defendant stated that he tested the product and did not find

12 Hattiesburg Man Invents Product to Control Mosquitoes. WDAM. May 12, 2017.

13 Hattiesburg Man Invents Product to Control Mosquitoes. WDAM. May 12, 2017.

14 Hattiesburg Man Invents Product to Control Mosquitoes. WDAM. May 12, 2017.

15 Carter, B. Spartan Mosquito Eradicator. Manufactured in Mississippi. Https://manufacturedinmississippi.com/ -
See Exhibit “D”

16 https://www.epa.gov/minimum-risk-pesticides/conditions-minimum-risk-pesticides

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that the target adult mosquitoes entered same — concluding that they were unable
or unwilling to enter. The results of this experiment are consistent with the results
from a study published by Dickerson (2018), Journal of Insect Science, which
confirmed that mosquitoes don’t squeeze “through 8 mm gaps even though they

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physically can.”"’ [The holes for the “eradicator” purchased by the Defendant are
4 mm, according to Spartan]. The Defendant's statements are therefore true and
consistent with all available published science. More importantly, whether or not
the target mosquitoes can enter or exit with ease is entirely irrelevant if the bait
within the “Eradicator” contains no active ingredient and has no verified efficacy —
here, the “Eradicator,” by the admission of Spartan, contains no active ingredient,
is not regulated by any Federal agency, and its claims of 95% elimination for up to
90 days is unsupported by any known independent scientific literature.

16. Denied as stated. Plaintiff alleges that its “Eradicator” product can
“eliminate 95% of mosquitoes for up to 90 days;” however, all scientific literature
to date shows that the smafl amount of yeast and sugar included within the
“Eradicator” cannot physically create enough carbon-dioxide to attract mosquitoes
for 90 days — it is literally impossible for the biochemical reaction of the yeast to
continue for 90 days with the amount of sugar provided. See, ¢.g., Yee, Supra;
Aryaprema, Supra. Thus, the statement - that the “Eradicator” does not work to

“attract mosquitoes” is true and supported by numerous studies.

17 Andrew K Dickerson, Alexander Olvera, Yva Luc, Void Entry by Aedes aegypti (Diptera: Culicidae)
Mosquitoes Is Lower Than Would Be Expected by a Randomized Search, Journal of Insect Science, Volume 18,

Issue 6, November 2018, 9, httos://doi.org/10.1093/jisesaviey 115

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17. Admitted to the extent that Defendant opined that, after his scientific
evaluation of the product, it was a “scam,” as the “Eradicator” did not function
according to its stated purpose and advertising. “Scam” is clearly an opinion, and
is a colloquial reference to a product that does not work as advertised. Here,
simple physics, as well as all independent scientific literature to date, demonstrates
that the “Eradicator” cannot work as advertised, and therefore is reasonably
considered a “scam.”

18. Admitted to the extent that the Defendant is, in fact, a scientist — a true
statement. Admitted also to the extent that the Defendant, in fact, evaluated the
product extensively — a true statement. It is admitted that the Defendant
corresponded with dozens of state and federal agencies, regulators and health
officials, including all 50 States environmental agencies, D.C., PR, and
including the EPA, EPA regions 2-9, EPA northwest, as well as contacted
numerous non-profits (such as the Mosquito Illness Alliance, American Mosquito
Control Association), had discussions with dozens of scientists, petitioned publicly
and to private citizens, and the like — at minimum, a reasonably true statement.
While an exact count, such as 100, may be slight hyperbole — it is un-contradicted
that the Defendant did in fact contact dozens of state and federal agencies and
regulators, non-profits, independent scientists, etc. Moreover, nothing about the
statement, “I corresponded with over 100 scientists and public health officials” is
defamatory to the Plaintiff — the statement is simply an estimation of the efforts

the Defendant went through to petition his government and to educate himself on

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the current literature regarding the efficacy of so-called “toxic” salt/yeast-bait
traps — indeed, there is no independent scientific basis whatsoever, and Plaintiff
identifies none, for the “95% reduction for up to 90 days” claim made by Spartan
regarding the “Eradicator.”

19, Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, this statement is an
observed scientific deduction and/or opinion of the Defendant regarding the lack
of efficacy of the “Eradicator” product. Moreover, it contained a follow-up which
directed the statement specifically to the attention of a Mississippi entomologist —
thus provided immunity under the PA Constitution regardless of its quality. See 27
Pa. C.S. § 8301, et. seg. In essence, Defendant logically deduces that if the
product does not reduce mosquitoes but is actively attracting different invasive
insects which then are able to breed within the brew inside the “Eradicator,” then
deploying the “Eradicators” in fact draws the invasive insect to the area without
eliminating it — thus contributing to the potential spread of the invasive species.
This statement is based upon the Defendant field-testing the product and
discovering live, active larva of the spotted-wing drospohila — thus, is true.

20. Denied. This averment constitutes a series of incorrect conclusions or
propositions of law to which no response is required. Further, the statement,
“loophole” is not defamatory in any way, and is clearly an opinion. The word
loophole is merely a colloquial term, defined by Mirriam-Webster as: “an

ambiguity or omission in a text through which the intent of a statute, contract, or

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obligation may be evaded.” [emphasis supplied] Here, Defendant found that the
“Eradicator” product did not “eliminate 95% of mosquitoes for up to 90 days,” and
that Spartan advertised the “Eradicator” as a “mosquito control device” and as a
“barrier.” The intent of the EPA, Congress, and state regulators and agencies is to
register and approve/disprove safe, effective pesticide products and active
ingredients for pest control. Spartan applied for EPA Regulation under an
exemption to this flat rule, pursuant to 40 C.F.R. §152.25(H(1) — Exempted
products, and does not require federal registration under FIFRA. See 40 C.F.R.
§152.25(H(1). Indeed, the EPA Registration Number for the “Eradicator” is listed
as 99999-99999, .i.e., not regulated by the EPA, and lists no active ingredient, i.e.,
contains no active pesticides. Finally, on the retail box containing the “Eradicator”
it states, “this 25(b) product is exempt from registration with the Federal
Environmental Protection Agency under FIFRA regulations.” The averments by
the Plaintiff within this paragraph are knowingly false ~ Spartan knows that its
“Eradicator” product is not “regulated” by the EPA — Spartan specifically applied
for a federal registration to be exempt from FIFRA under 40 C.E.R. §152.25(f(1).
Moreover, Spartan’s averment, that its “Eradicator” product contains a pesticide, is
knowingly false — the “Eradicator” contains no true active ingredient pesticide as
defined by the EPA etc., and within its own registration and documentation
supplied to the Commonwealth’s Department of Agriculture, contains no
pesticides. Spartan’s own filing and the list of inert ingredients at Table 2 — Inert

Ingredients (reproduced above), shows unequivocally that there is no active

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ingredient within the “Eradicator.” Thus, the statements by the Defendant are true,
1.e., the “Eradicator” is not regulated and contains no pesticides. This information
is publicly available upon the PA Department of Agriculture website and is
submitted to it by Spartan — the best evidence that the claims regarding the
“Eradicator” by the Defendant were true. It is axiomatic that registration under the
BPA regulations does not mean that the EPA regulates, in any sense of the word,
the product under FIFRA. Finally, the Plaintiff no longer sells the “Eradicator” but
instead has withdrawn it from the market and replaced it with a “Pro Tech
Eradicator” bait trap, now containing boric acid — which is a pesticide regulated by
the EPA.

21, Admitted to the extent that the Defendant opined about the success of the
sales of the “Eradicator” product, lamenting the fact that consumers rely upon and
trust the completely unsubstantiated claims of the Plaintiff that the “Eradicator”
eliminates 95% of mosquitoes for up to 90 days. It is denied this constitutes
defamation in any way, as the opinion is formed upon the studies the Defendant
himself conducted, based upon all available independent scientific literature, and
based upon the utter lack of biochemical availability of a small amount of
sugartyeast -> CO2 and salt toxicity for a 90 day period. The utter lack of
supporting data in the face of a scientific consensus to the contrary in turn
logically questions the honesty and integrity of the executives of the Plaintiff.
Throughout the Complaint, the Plaintiff doubles-down on its unethical behavior by

repeating its bad faith, false statements regarding the “Eradicator” — i.e., that it is

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“regulated by the EPA” and that it “contains a pesticide.” Both averments are
false and yet are repeated throughout the Complaint. Plaintiff itself admits, via
publicly-available filings with the Commonwealth and the EPA, that the
“Eradicator” contains no active ingredient, hence, no pesticide.

22. Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, Defendant formed
this opinion upon the discovery of live, active spotted-wing drosophilia larva
within the “Eradicator” upon which he conducted his live field-testing. The “ideal
conditions” wherein the spotted wing drosophila thrive is a provable scientific fact
not subject to re-interpretation by the Plaintiff. Thus, this statement is true or
otherwise an opinion based upon actual testing of the “Eradicator” product. In
essence, Defendant logically deduces that if the product does not reduce
mosquitoes but is actively attracting different invasive insects which then are able
to breed within the inactive brew inside the “Eradicator,” then deploying the
“Eradicators” draws the invasive insect to the area without eliminating it — thus
contributing to the potential spread of the invasive species — thus, is true upon the
good faith information and belief of the Defendant.

23. Denied as stated. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, this averment is
demonstrably false — Spartan has been engaged in a public relations campaign
since at least May of 2017 to explicitly convince the public that its “Eradicator”

product was effective at reducing mosquitoes that carry Zika and/or other

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mosquito-bome illnesses. Indeed, in or around May 12, of 2017, Jeremy Hirsch,
President of Spartan, began his public relation campaign to convince the public
that the “Eradicator” was, “the most successful response to Zika anywhere in
the world on record,” based upon its deployment at a “Zika site” within Lamar
County, Mississippi. He further stated, “anyone can use this from municipalities to
governments to parks to homes, and residential is really what we care about
most...it was founded to keep my family safe. The point of this is to keep
everybody’s family safe.”"

Thus, the Defendant’s statement that the “Eradicator” puts people’s health at risk
is true, based upon the lack of efficacy of the product and the false claims of Zika
prevention, etc., of Spartan. No facts, evidence, studies, internal data, or the like is
supplied by the Plaintiff to show that the “Eradicator” eliminates 95% of
mosquitoes for up to 90 days, or has any effect whatsoever to reduce the carriers
of mosquito-borne illnesses. A discerning individual would question why
Spartan is unable to supply, commission, or even point to a publicly available
independent study that supports any of the claims of the “Eradicator”
product. Moreover, if the “Eradicator” was tested all over the world, as stated by
Jeremy Hirsch, then those tests should be readily available — yet, not only are they
not available, they are specifically prevented from release by Spartan via a Non-

Disclosure Agreement with its testers. If the “Eradicator” reduced the mosquito

population by 95% for 90 days as claimed, then it should be relatively simple to
18 Hattiesburg Man Invents Product to Control Mosquitoes. WDAM. May 12, 2017.

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commission a study to show at least some impact upon the mosquito population -
yet, all available independent scientific data and evidence shows that the
“Eradicator,” and sugar/yeast/salt traps themselves, are completely ineffective at
reducing mosquito populations (in fact, some studies found that the traps actually
increased” the pest population in the area).

Further, it is merely a logical deduction of the Defendant that if a product is touted
for 95% mosquito control for up to 90 days, it necessarily contains claims that it
reduces the spread of mosquito-borne illnesses. It is also logical to deduce that, if
the product contains no active ingredient and lists no pesticides upon its
registration, is unregulated by the EPA, and field-testing as well as all available
independent studies show no efficacy of the “Eradicator,” then it cannot eliminate
95% of mosquitoes, and therefore cannot reduce the spread of mosquito-borne
ilinesses. Finally, the logical summation is that if customers purchase the product
relying upon the false advertisement that the “Eradicator” can eliminate 95% of
mosquitoes for up to 90 days, then they would not purchase or otherwise engage in
further mitigation efforts - exposing them to a higher risk of contracting a
mosquito-borne illness because they reasonably believe that the “Eradicator” is
wiping out 95% of mosquitoes in the area. Each and every one of these deductions
by the Defendant arise out of the plain statements of Spartan regarding the

“Eradicator,” the Defendant’s exhaustive testing of the “Eradicator,” his doctorate

 

19 Daxiang Yang Carnivory in the larvae of Drosophila melanogaster and other Drosophila species, Scientific
Reports (2018) 8:15484, doi.org/10.1038/s41598-018-33906-w

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in biology, his correspondences with non-profits and scientists, independent
scientific studies, and the biochemical laws of physics and biology.

24. Denied. This averment is demonstrably false and constitutes bad faith
pleadings to this Court. The knowingly false nature of this averment, i.e.,
“Plaintiff does not make health claims about the Spartan Mosquito Eradicator,”
and numerous other knowingly false averments within the instant Complaint,
demonstrates the lack of candor to this Court and constitute a clear malicious
intent to use a federal proceeding to silence or chill the speech of legitimate
scientific inquiries on its “Eradicator.” Indeed, since at least May of 2017, Jeremy
Hirsch, President of Spartan, has engaged in a public relations campaign to
convince potential customers that his “Eradicator” product was, “the most
successful response to Zika anywhere in the world on record... it was founded
to keep my family safe. The point of this is to keep everybody’s family safe.”
Within the “Eradicator” distributed literature, Spartan again claimed that, “fewer
bites equal fewer opportunities for mosquito-vectored illnesses.” If fewer bites
lead to less chance of mosquito-vectored illnesses, then by the own logic of the
Plaintiff, the failure to reduce bites combined with the belief that the consumer is
protected, can only increase (if any) the chances of acquiring a mosquito-vectored
illness. As recently as 2019, Spartan touted on its website that the “Eradicator”
will “Protect your family.””° In 2020, Spartan attempted to enter into a partnership

with the Republic of Togo, to eradicate the rampant Malaria-vector mosquitoes
20 Wayback archive of Spartan website, 2019.

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within Togo.”' It is evident that since the founding of Spartan in 2017, Jeremy
Hirsch has consistently and explicitly positioned Spartan (and the “Eradicator”) as
a boon to public health and a product that can prevent or dramatically reduce
mosquito-borne illnesses. It is a violation of EPA Condition 4 for a product
claiming to control or mitigate insects...carrying specific diseases.” See EPA 25(b)
Condition 4.”

25, Admitted only to the extent that the Defendant has made dozens of truthful
statements regarding the lack of efficacy of the “Eradicator” and that Spartan
deceived low-income customers by knowingly promoting the “Eradicator” as a
cheap, effective alternative to mosquito control, which it knows or has reason to
know is ineffective. Spartan touted its “Eradicator” as a “cheap, 25$ alternative” to
the expensive spraying (which is indisputably effective for mosquito control),
thereby attempting to prey upon the low-income, low-information consumer.

26. Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, Plaintiff cannot
identify a single truly “false” statement made by the Defendant with knowledge of
its falsity or reckless disregard. Baldly concluding that the Defendant acted with
knowledge or reckless disregard is well below the requisite standard required for a

Federal action — the Plaintiff must show some evidence or testimony, or malice on

 

21 Atcha-oubou, T.. MD-MPH. Togo's National Program for Fight Against Malaria (PNLP) to Launch Mosquito
Eradication Initiative in West Africa, J anuary 16, 2020
https://www.wfmz.com/news/pr_newswire/pr_newswire_health/togos-national-program-for-fight-
againstmalaria-pnlp-to-launch-mosquito-eradication-initiative-in-west/article_53212b60-8624-562b-a944-
cSSbfebf2c89,html

22 https://www.epa.gov/minimum-risk-pesticides/conditions-minimum-risk-pesticides

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behalf of the Defendant - which it cannot. Moreover, false and misleading
Statements on a label are a breach of EPA conditions. See 40 CFR 156.10(a)(5)@)
— (viii). The CDC, for example, specifies that source reduction is the meaningful
method of mosquito-vectored illness control, and that trap devices only for
monitoring, stating:

“source reduction is the elimination or removal of habitats that produce
mosquitoes. This can range from draining and scrubbing water holding
containers on a weekly basis to properly disposing of discarded tires, rain
barrels, and trash containers that may harbor rain water. This can be
difficult to accomplish with the Zika virus vector Ae. aegypti, which
readily uses very small water containers.”

The “Eradicator” is nothing more than a small water container.

27. Denied. Spartan has suffered no damages and can identify none, as
this claim is completely unsupported by any fact, law, or sworn testimony. Not
one document has been placed into the record showing any losses related in any
way to the Defendant’s statements. Spartan does not appear to even manufacture
the “Eradicator,” but instead only sells the “Pro-Tech” new version, which now
contains an active pesticide. The Plaintiff apparently voluntarily pulled the
“Eradicator” after more than a dozen states and territories banned it, including this
Commonwealth (presumably because there was no scientific basis for the
unscientific claims made by Spartan regarding the “Eradicator” when the PA Dept.
of Agriculture inquired as to same). It is believed and averred that the Plaintiff

cannot show any harm or damages of any kind attributable to the “Eradicator,” due

23 CDC Public Health ~ Vector Control, Mosquitoes: https: /iwwv.cde. gov/zika/public-health-partners/vector-

control-us.htmi

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to its steadfast refusal to provide any evidence or testimony regarding monetary
losses or other damages. As such, the amount in controversy cannot exceed
$75,000.00, and therefore this Court lacks subject matter jurisdiction for the
Plaintiffs’ claims.

COUNT I
DEFAMATION

28. This paragraph constitutes incorrect conclusions or propositions of law and
requires no response. The preceding paragraphs are incorporated within the
responses herein.

29, Denied. This averment constitutes knowingly false statements issued
by the Plaintiff as well as incorrect conclusions or propositions of law to which no
response is required. Further, the Plaintiff mis-characterize the statements of the
Defendant as “accusations” and conflates publicly-available true facts and the
opinions of the Defendant derived therefrom, as untruthful statements. Indeed, the
claim of “misleading state agencies” via public comments and petitions, is not an
actionable count under the laws of the Commonwealth of Pennsylvania or Federal
law, and also is protected communication under the Constitution of this
Commonwealth as well as the First Amendment to the Federal Constitution, which
specifically protects even untrue communications, petitions, and correspondences
with state agencies. See, e.g., 27 Pa. C.S. § 8301, et. seg. (...a person “that makes
an oral or written communication to a government agency relating to enforcement

or implementation of an environmental law or regulation shall be immune from

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civil liability...where the action or communication is aimed at procuring favorable
governmental action...” unless the allegation in the action is “not relevant or
material” and “is knowingly false, deliberately misleading, or made with malicious
and reckless disregard for the truth or falsity.”) The statement regarding
“scamming customers” and “deceptive advertising” is identical to the allegations
made within the Class Action Lawsuit™ currently pending against AC2T, Inc.,
specifically regarding the fraudulent/false advertising, deceptive business
practices, product liability claims, and breach of warranties of the “Eradicator” and
AC2T, and additionally, constitutes wholly protected opinion of the Defendant.
Plaintiff has failed to meet its burden of proof that these statements are false: let
alone defamatory. Indeed, the statements themselves are not false, or are
reasonably considered speculations, opinions, and/or are direct contradictory
responses to public, unsupported claims of Spartan.

30. Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, Plaintiff intentionally
mis-characterizes the statements of the Defendant, and utterly fails to plead facts
or relevant statements — Spartan cannot even identify which statements are
“defamation per se” with the requisite specificity; rather, it baldly asserts that
“many of the statements are defamatory per se.”

31. Denied, This averment constitutes an incorrect conclusion or

proposition of law to which no response is required. Further, the Defendant has

24 Consolazio, etal v. AC2T. INC, Bonner Analytical Testing Co., and Jeremy Hirsch, 1:20-cv-03477, S.D. N.Y.
2020.

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32.

33.

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not issued any defamatory statements regarding the “Eradicator” or regarding
AC2T, Inc. to any recipient. All statements made by the Defendant regarding the
“Eradicator” or AC2T, Inc. were true, reasonably true based upon the Defendant's
knowledge, protected speech, immune, or otherwise reasonably-formed opinions.

Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, Defendant has not
issued any defamatory statements. All statements made by the Defendant
regarding the “Eradicator” or AC2T, Inc. were true, reasonably true based upon
the Defendant's knowledge, protected speech, immune, or otherwise reasonably-
formed opinions,

Denied. Spartan cannot identify a single “economic damage”
attributable to the Defendant and has not pled a single monetary harm to its
business. Moreover, Spartan is not authorized to distribute the “Mosquito
Eradicator” within the Commonwealth of Pennsylvania, as it withdrew its 2020
registration with the Pennsylvania Department of Agriculture after the Department
requested efficacy data. Shortly before or after the filing of the Complaint, the
“Eradicator” was deemed illegal to sell or ship to this Commonwealth pursuant to
the Pa. Pesticide Control Act, in addition to being banned in a dozen other states.
Further, upon information and belief, Spartan no longer manufactures or sells the
“Eradicator,” and cannot identify any harm or damages resulting from any
statements from the Defendant and is not entitled to relief. See, e.g., Williams v.

Best Buy Co., 269 F.3d 1316, 1321 (11th Cir. 2001).

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Thus, Spartan withdrew the product from the market, presumably because they
could not supply proper efficacy data to the state regulatory agencies, and
presumably because a Class Action Lawsuit for fraud/false advertising was filed
against Spartan at the end of 2019 regarding the “Eradicator.” Spartan cannot now
claim that Defendant is somehow responsible for its own removal from circulation
(at least within this Commonwealth) nor can the Defendant be responsible for a
class action lawsuit against it, or a state agency refusing to issue a certification for
its “Eradicator.” Plaintiff cannot seek damages from the date of the state-ordered
removal of the “Eradicator” from the market ~ as a result, the Plaintiff cannot
identify any harm (or damages) to its business resulting from statements of the
Defendant, and is seeking to scapegoat the Defendant for its fraudulent business
model and attempting to silence public scientific criticism of its flawed
“Eradicator.”

COUNT I
COMMERCIAL DISPARAGEMENT

34. This paragraph constitutes incorrect conclusions or propositions of law and
requires no response. The preceding responses are incorporated within the
responses herein.

35. Denied. Plaintiff intentionally mis-characterizes the statements by the
Defendant by flat out altering the statements, removing contextual references, and
alternatively cherry-picking or improperly summarizing the responses. Further,

Defendant's statements are true, reasonably true based upon his information, are

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responsive to falsities promoted publicly by Spartan, contain opinions, and are
constitutionally-protected or immune speech. Unfair characterizations or
“innuendos” of the Defendant's statements do not render them defamatory.
Livingston v. Murray, 417 Pa. Super. 202, 215 (Pa. Super. Ct. 1992).

36. Denied. This averment constitutes an incorrect conclusion or
proposition of law to which no response is required. Further, in 2017, Jeremy
Hirsch, Spartan CEO, began claiming within press releases that the “Eradicator”
was, “the most successful response to Zika anywhere in the world on record.”
Hirsch further stated,

“anyone can use this from municipalities to governments to parks to
homes, and residential is really what we care about most...it was
founded to keep my family safe. The point of this is to keep
everybody’s family safe.”
Defendant's statement was in direct response to the Plaintiff making outlandish
and indefensible public statements regarding the Zika (and other) health benefits
of the “Eradicator,” and as a result of the refusal of the Plaintiff to supply to
Defendant any basis or studies which would verify the efficacy of the
“Eradicator.” [See Exhibit “Cc” of the Complaint]
If the “Eradicator” was truly the “most successful response to Zika anywhere in
the world on record,” then the company likely would not be facing a Class Action
lawsuit for fraud/false advertising regarding the claims of the “Eradicator,” would

not have withdrawn it for sale globally and no longer sell the “Eradicator,” and it

likely would not have been banned by a dozen or more states.

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37.

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Clearly, the Plaintiff, and its executives, have lied repeatedly to the public —
Plaintiff has impugned its own honesty and integrity without any statements by
the Defendant. Further, Plaintiff claims his “Exhibit C” shows the Defendant
issuing a defamatory statement that Spartan was in violation of federal law -
federal law is public record, and an interpretation of the Defendant that the
Plaintiffs wild claims regarding the health benefits of the “Eradicator” violate
FIFRA Regulations is unequivocally a true statement (as well as an opinion) under
the plain, black-letter reading of the Federal Insecticide, Fungicide, & Rodenticide
Act and FIFRA 25(b) exemption, as well as EPA Regulations, etc.

Denied. Defendant's statements were true, reasonably true, protected
speech, based upon his own observations and testing, and/or opinions which are
not defamatory. Defendant issued the statements primarily to state, federal, and/or
regulatory agencies, or to the public to petition for support, or in response to the
public claims of the Plaintiff, and were never issued to cause financial loss. Any
financial losses are the sole and direct result of the Plaintiff issuing
fraudulent/false advertising claims, the utter lack of any published independent
study supporting said claims, the scientific consensus that toxic salt/yeast bait
traps are completely ineffective, and the removal of the “Eradicator’ from the
market by Spartan.

WHEREFORE, Defendant Colin Purrington demands judgment in his favor

against Plaintiff AC2T, Inc., d/b/a Spartan, and awarding all costs and expenses,

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including attorneys fees and the like, and that the Complaint be dismissed with

prejudice.
NEW MATTER
38. The Defendant, Colin Purrington, incorporates all responses above herein

as though the same were set forth at length.

39. This Court lacks subject matter jurisdiction as the case in controversy of the
Plaintiff does not exceed $75,000.00, exclusive of attorneys fees or costs, pursuant
to 28 U.S.C. §1332.

40. Spartan's president, Jeremy Hirsch, invented the “Eradicator,” a so-called
toxic salt/yeast bait trap. He has no formal education in biology, anatomy,
virology, microbiology, or entomology.

41. Spartan has publicly stated that the “Eradicator” was tested all over the
world, and everywhere it tested, it “worked phenomenal.”

42. Spartan has publicly stated that the “Eradicator” was the most successful
response to Zika anywhere in the world.

43, Spartan has publicly stated the “Eradicator” was better than sprays,
repellents, candles, and repellent services at controlling mosquitoes,

44, Spartan has publicly marketed the “Eradicator” to families as a cheap,
effective means of health protection from mosquito-vectored illnesses.

45, Spartan has publicly made health-related claims regarding the “Eradicator.”

A6. Spartan has never commissioned an independent laboratory to verify the

efficacy of the “Eradicator.”

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47, Spartan has prevented the release of all tests regarding the “Eradicator” it
has undertaken.
48. Spartan stated on its packaging purchased by the Defendant that “the

mosquito population... will be 95% controlled for up to 90 days.”

49. Spartan stated that the “Eradicator” eliminated 95% of mosquitoes.

50, Similarly, it stated there are only three ingredients in the “Eradicator” -
88.34% Sugars, 11.48% Salt, and .18% Yeast.

51. Spartan stated on its packaging the “Eradicator” “create[s] a barrier, giving
the mosquitoes a target that emits the same attraction triggers as people and
animals.”

52. Spartan has stated that the salt water concoction is consumed by the
mosquitoes after being drawn by the Carbon Dioxide given off by the yeast
processing the available sugars, causing the mosquitoes to die.

53. There are no independent or peer-reviewed studies which support the claim
that the “Eradicator” controls mosquito population for 95% for up to 90 days.

54, There are no independent or peer-reviewed studies which support the claim
that the “Eradicator” creates a barrier to protect the consumer.

35, There are no independent or peer-reviewed studies which support the claim
that salt ingestion by mosquitoes causes their death.

56. There is no scientific basis for the claim that sodium chloride ingestion

reduces or eliminates mosquitoes.

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57, Leading entomologists in the state of citizenship of Spartan, Mississippi,
have determined that there is no scientific basis for the claims of Spartan regarding

the “Eradicator.”

58. There is a scientific consensus regarding the lack of efficacy of toxic
salt/yeast bait traps.
59, Salt water (sodium chloride + tap water) is designated an inactive

ingredient by the EPA, and is not a pesticide.

60. Yeast is designated an inactive ingredient by the EPA, and is not a
pesticide.

61. Sugars are designated an inactive ingredient by the EPA, and are not
pesticides.

62. Carbon Dioxide is designated as an inactive ingredient by the EPA, and is
not a pesticide.

63. There are no independent or peer-reviewed studies which show that yeast
consumption or exposure in these minor amounts causes mosquito death.

64. The “Eradicator” cannot produce CO2 for more than 48 hours.

65. Spartan, via its president Jeremy Hirsch, has admitted to state or federal
regulators that the “Eradicator” cannot produce CO2 for more than a few days.

66, The “Eradicator” attracts other types of insects and pests.

67. Spartan, via its president Jeremy Hirsch, has admitted to state or federal

regulators that the “Eradicator” marketing was misleading.
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68. Spartan has violated federal regulations regarding its claims and marketing
of the “Eradicator.”
69. Spartan has violated the conditions of the EPA 25(b) exemption regarding

the “Eradicator.”

70. The “Eradicator” was not regulated by the EPA.

71. The “Eradicator” was not government regulated.

72. The “Eradicator” does not prevent, destroy, repel, or mitigate mosquitoes,

73. The “Eradicator” contains no pesticide as defined by 7 U.S. Section 136(a).

74. Defendant documented his test of the “Eradicator” and published the
detailed results.

75, All of the Defendant's statements were directed at state, federal, or non-

profit environmental or regulatory agencies, or to the public, in an attempt to
petition support for the review of the “Eradicator.”

76. Spartan no longer makes the “Eradicator.”

77. Spartan has withdrawn the “Eradicator” from the market because it could
not supply proper efficacy data to the state and/or federal regulatory agencies.

78. The “Eradicator” has no active ingredient as defined by the EPA, Congress,
or federal regulations.

79, Spartan listed no active ingredient in its registration for the “Eradicator”
within this Commonwealth.

80. Spartan has now replaced the “Eradicator” with a new model, the “Pro

Tech” which contains an additional ingredient, boric acid.

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81. Boric acid is a pesticide, regulated by the EPA and FIFRA.

$2. Spartan cannot seek damages from the date of state-ordered removal of the
“Eradicator” from the market., and has no losses. See Exhibit “E” attached hereto.

83. Spartan is seeking to scapegoat the Defendant for its fraudulent advertising
and attempting to silence public scientific criticism of its flawed “Eradicator.”

84, Spartan's claims are barred due to the one year Statute of Limitations
codified at 42 Pa. C.S. § 5523(1).

85, Plaintiff fails to state a claim upon which relief can be granted.

86. Spartan cannot show that any of the statements identified in the Complaint
which are false or malicious, or otherwise not opinions of the Defendant.

87. Spartan was prohibited from selling the “Eradicator” toxic salt/yeast bait
trap by numerous state agencies as a result of the communications by the
Defendant to regulatory agencies and his public campaigns.

88. Plaintiff is a public figure not entitled to relief.

89. Plaintiff cannot show any independent scientific studies which contradict
the statements of the Defendant regarding the lack of efficacy of the “Eradicator.”

90. Spartan is estopped from pursuing its claim as it “invited” these statements,
and any potential defamation, by engaging with and responding (or removing)
statements of the Defendant.

91, Spartan and its executives publicly “doxxed” the Defendant's wife in

retaliation for his statements.

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92. Defendant's statements are protected pursuant to the First and Fourteenth
Amendments of the U.S. Constitution. See, e.g., New York Times v. Sullivan, 376
U.S. 254, 84 8. Ct. 710 (1964).

93. Defendant's statements are protected under the Noerr-Pennington Doctrine.

94, Defendant's statements are protected or immune pursuant to the
Constitution of the Commonwealth of Pennsylvania.

95, Defendant is immune from suit pursuant to 27 Pa. C.S.A. § 8302 ef seq., as
his communications and statements relate to procuring favorable government
action on an environmental law or regulation, and more importantly, they were
true. None of the statements were knowingly false or made with reckless disregard
for the truth or falsity, nor were any statements made with the intent to undermine
a business contract or relationship of the Plaintiff(s). See. e.g.. Penllyn Greene

Associates, LP v. Clouser, 890 A.2d 424, (Pa. Cmwth. 2005).

 

96. Defendant's statements are protected and are fully justified pursuant to 42
Pa. C.S.A. §8342, as his statements and communications were true or substantially
true and specifically to encourage public information and investigation, without
malicious intent,

97, Defendant's statements are true independently verifiable facts, or

substantially true, which is a complete bar to the action of the Plaintiff. See, e.g.,

Hatchard v. Westinghouse Broadcasting Co., 516 Pa. 184, 194 (Pa. 1987);

ToDay's Hous v. Times Shamrock Communs., Inc., 21 A.3d 1209, 1215 (Pa.
Super. Ct. 2011).

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98. Deiendant's statements constitute reasonable opinion which is not
defamatory under Pennsylvania law. See, e.g.. Baker v. Lafayette College, 516 Pa.
291, 297 (Pa. 1987).

99, Defendant's statements form part of the claims, facts, and/or basis of the
Class Action lawsuit currently pending against Spartan and thus the Defendant is
entitled to absolute privilege pursuant to the doctrine of judicial privilege. See e.g.
Schanne v. Addis, 2015 Pa. LEXIS 1780, *13 (Pa. Aug. 17, 2015).

100. Defendant's statements and public blog posts were privileged pursuant to
the fair report privilege and because they involved the interest of the public. See,
e.g., Sciandra v. Lynett, 409 Pa. 595, 600 (Pa. 1963); Moore v. Cobb-Nettleton,
2005 Pa Super 426, P7 (Pa. Super. Ct. 2005).

WHEREFORE, Defendant Colin Purrington demands Judgment in his favor
against Plaintiff AC2T, Inc., d/b/a Spartan, and awarding all costs and expenses,
including attorneys fees, punitive damages, and the like, and that the Complaint be
dismissed with prejudice.
COUNTERCLAIM
Abuse of Process

Colin Purrington
v

AC2T, Inc. d/b/a Spartan

101. Spartan has committed common law abuse of process. Subsequent to the

initiation of the Complaint, Spartan has sought to use the discovery process to

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inflict maximum financial and reputation harm to Colin Purrington, the counter-

claim Plaintiff, including:

a. failing or refusing to remove knowingly false or misleading statements

from amended pleadings, causing needless legal responses;

b. refusing to provide requested discovery (despite being the initiator of the

lawsuit), necessitating the costs and expenses for a Motion to Compel, yet

repeatedly is seeking to schedule the deposition of Mr. Purrington,

currently seeking a mid-July date certain;

c. seeking voluminous and time-consuming discovery from Mr. Purrington,

much of which was merely a fishing expedition, and yet required attorney

review, furthering Spartan's goal of inflicting immediate financial harm;

and,

d. is actively using the survival of their claim from the Motion to Dismiss to

intimidate and chill the speech of other individual scientists, organizations,

and the like from publishing prior-completed or future studies on the

product — including studies which directly refute the public claims of

Spartan regarding its “Eradicator.”

See, e.g., Gen. Refractories Co. v. Fireman’s Fund Ins. Co., 337 F.3d 297, 304 (3d

Cir. 2003); Lerner v. Lerner, 954 A.2d 1229, 1238 (Pa. Super. Ct. 2008), quoting

Shiner v. Moriarty, 706 A.2d 1228, 1236 (Pa. Super. Ct. 1998), appeal denied, 729

A.2d 1130 (Pa. 1998) (moving party must show that the non-moving party “(1)

used a legal process against the [moving party], (2) primarily to accomplish a

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purpose for which the process was not designed, and (3) harm has been caused to
the [moving party].”)

102. All of these actions subsequent to the filing of the Complaint were
intentionally designed to cause needless, excess expense to Mr. Purrington, in an
improper attempt to financially punish Mr. Purrington for refusing to settle the
Complaint immediately after filing in compliance with its demands that he
remove, retract, and apologize for his comments, in addition to paying damages.

103. These damages suffered by Mr. Purrington are real and calculable, and
have caused unnecessary hardship and distress on Mr. Purrington and his family.

104, Mr. Purrington has been left with little choice but to borrow from his
retirement account, seek funding from the sympathetic public via gofundme
campaigns, and the like.

105. Mr. Purrington has documented these hardships and the over-the-top
lengths of Spartan to attempt to silence him, publicly on his blog - the Spartan
lawsuit is common knowledge in the industry as well as public record.

106. Further, the subsequent proceedings in this action are now being
weaponized by Spartan to imply financial disaster to any individual or small
organization which would consider publicly supporting or publishing evidence in
support of Mr. Purrington.

107. Spartan is promoting the survival of its knowingly false statements in its
Complaint to undermine or ostracize Mr. Purrington. It is specifically alleged that

at least one non-profit organization refused to publish a study and statement

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condemning the “Eradicator” once they discovered the substantial financial losses
that were accruing by Mr. Purrington.

WHEREFORE, Counterclaim Plaintiff Colin Purrington demands judgment in
his favor against counterclaim Defendant AC2T, Inc., d/b/a Spartan for abuse of
process, and awarding all damages, costs and expenses, including attorneys fees,

punitive damages, and the like.

Respectfully submitted,

 

Trevor C. Serine, Esquire
PA Attorney ID No.: 316805
Serine Law

30 West Third Street

Media, PA 19063

P: 4844486426
TCS@Serinelaw.com

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VERIFICATION

I, COLIN PURRINGTON, verify that the statements issued within the attached
ANSWER WITH NEW MATTER AND COUNTERCLAIM are true and correct to the
best of my knowledge, information and belief. | understand that false statements issued
herein are subject to the penalties of the Pennsylvania Criminal Code at 18 Pa. C. S.

§4904, relating to unsworn falsification to authorities.

 

 

or 24| 202]
Date |

 
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EXHIBIT A
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Journal of Medical Entomology, 58|2), 2021, 767-772

dot: t6.1093/ime/tjaa214

Advancd-Access Publication Date: 20 October 2020

Vector Control, Pest Management, Resistance, Repellents

Research

 

 

No Evidence That Salt Water Ingestion Kills Adult
Mosquitoes (Diptera: Culicidae)

Donald A. Yee,"”’ Catherine Dean,’ Cameron Webb,?3“ Jennifer A. Henke,’
Gabriela Perezchica-Harvey,’ Gregory S. White,' Ary Faraji,>" Joshua D, Macaluso,® and
Rebecca Christofferson®

‘Schaal of Biological, Environmental, and Earth Sciences, University of Southern Mississippi, Hattiesburg, MS 39460, *Discipline
of Medicine, Westmead Clinical School, Sydney Medical School, University of Sydney, New South Wales 2145, Austraiia,
*Medical Entomology, NSW Health Pathology, Westmead Hospital, Westmead, New South Wales 2145, Australia, ‘Coachella
Valley Mosquito and Vector Contro! District, Indio, CA 92201, Salt Lake City Mosquito Abatement District, Salt Lake City, UT
84116, "Pathobiofogical Sciences, School of Veterinary Medicine, Louisiana State University, Baton Rough, LA 70803, and
"Corresponding author, e-mail: donald.yee@usm.edu

Subject Editor: Lawrence Hribar

Received 8 August 2020; Editorial decision 8 September 2020

Abstract

Various products and insecticides are available that purport to reduce wild populations of adult mosquitoes,
Recently, several manufacturers and general public comments on the internet have promoted devices that
claim that ingestion of salt will significantly reduce populations of wild mosquitoes to near zero; there are no
known scientific efficacy data that support these claims. We tested the survival of nine mosquito species of pest
and public health importance across four adult diets: Water Only, Sugar Water Only (8.00%), Salt Water Only
(1.03%), and Sugar + Salt Water. Species included the following: Aedes aegypti (L.), Aedes albopicius (Skuse),
Aedes dorsalis (Meigen}, Aedes notoscriptus (Skuse), Aedes vigilax (Skuse), Anopheles quadrimaculatus
(Say), Culex pipiens (L.}, Culex quinquefasciatus (Say), and Culex tarsalis (Coquillett). Male and female mos-
quitoes were placed in cages and allowed to feed on liquid diets under controlled environmental conditions for
1 wk. For seven of the nine species, adult survival was significantly higher in the presence (Sugar Water, Sugar
+ Salt Water} versus the absence (Water Cnly, Salt Only) of sugar, with no indication that salt had any effect on
survival. Anopheles quadrimaculatus showed intermediate survival in Sugar + Salt to either Sugar Only or no
sugar diets, whereas Aedes dorsalis showed low survival in Salt Only versus other diets. Based on our data
and coupled with the fact that mosquitoes have physiological and behavioral adaptations that allow them to
avoid or process excess salt (as found in blood meals), we conclude that there is no scientific foundation for
salt-based control methods of mosquitoes.

Key words: attractive toxic sugar bait, Culicidae, diet, sodium chloride, sucrose

 

The pest and public health risks associated with mosquitoes are sig-
nificant and are often perceived to be greater where individuals are
exposed to mosquitoes in and around residential properties (Halasea
et al. 2014). As a result, there continues to be demand for commercial
products designed for mosquito control around the home. However,
the effective control of mosquitoes has had mixed success. The com-
plex biology and ecology of mosquito species presents challenges in
finding an effective and sustainable broad ranging control steategy
and the realm of mosquito control has remained relatively static over
the past few decades (Faraji and Unlu 2016). Although new tech-
nologies and approaches have yielded some success (e.g., attractive
toxic sugar baits (e.g., Fiorenzano et al. 2017) and insecticide-treated

bed nets (Nahilen et al, 2003}, there has been no magic bullet to rid
humanity of pestiferous mosquitoes. Over the past few years, there
has been geowing public interest in novel approaches that purport to
help reduce mosquito populations for individual homeowners. One
such approach relies on the use of common table salt (sodium chlo-
ride} added to a sugar bait to kill adule mosquitoes,

There is a clear demand among the public for affordable and effec-
tive mosquite control, and many do-it-yourself approaches have proven
popular on internet and social media sites (e.2., YouTube and Facebook).
Many of the more widely shared approaches include mixing of various
household products alleged to have value as a mosquito attractant, re-
pellent, or control agent. Several devices make claims that salt-based

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solutions are active killing agents, with some videos describing this
approach having millions of views on social media. Within the past
few years, several companies have begun to produce devices in the
United States that make the claim that salt feeding by adults will re-
duce mosquito numbers in the wild. These devices include the Spartan
Mosquito Eradicator (ACT2 Inc., Hattiesburg, MS}, the Mosquito XT
(King Marketing, Paragould, AK), the Skeeter Eater (Copia Products,
Memphis, TN), Mosquito Dynamite (Vic West Brands, Austin, Texas},
and Donaldson Farms ~ Mosquito Eliminator (Chattanooga, TN).
These devices generally contain some combination of dried salt, sugar,
and yeast, which is mixed with warm water by the purchaser and then
placed outdoors to either attract mosquitoes who then drink the fluid
and are claimed to die from the salt, or who are repelled by the action
of other additives like various essential oils. There are no data that have
tested the effectiveness of salt as a substance to kill mosquitoes,

There are several reasons why salt may be an effective path for
mosquito control, First, adult mosquito nutrition is based on the
feeding of plant-derived sugars, which also contain a variety of other
substances, including proteins, vitamins, amino acids, and salts (re-
viewed in Peach and Gries 2019). Thus, salts are an essential com-
ponent of the adult mosquito diet, however one could hypothesize
that at high enough concentrations salt could be lethal, although
there are little to no data on the effects of such high concentra-
tions on adult survival. A lack of evidence may simply stem from
an avoidance by researchers to investigate what is for many a for-
gone conclusion (i.e., there is no reason to assume that mosquito
adults actively drink salt water in nature). Second, eggs of some spe-
cies often fail to hatch in water with salt concentrations > 1.0%
(e.g., Macfie 1922, Wigglesworth 1933) although Aedes aegypti (L.)
and Aedes albopictus (Skuse) show egg hatchings even at 2.0% salt
concentrations (sea water is ~3.5% salt; Yee et al, 2013). Third, al-
though salt can be lethal to larvae of nonsalt adapted species (e.g.,
Yee et al. 2013), larvae of some mosquitoes, such as Aedes sollicitans
(Walker) and Aedes taeniorhynchus (Wiedemann), are known to
have a tolerance to salt (Albers and Bradley 2011). Finally, adute
females may avoid laying eggs in water with high salt concentra-
tions (e.g., Woodhili 1941, Foley and Bryan 1999). This avoidance
to certain salt concentrations is perhaps a way for females to avoid
any lethal effects on their offspring. However, despite evidence to
suggest that females may be able to detect high concentrations of
salt and that salt can be detrimental to larvae and eggs, there remain
little data that directly tests the effect of salt ingestion on adult sur-
vival. Finally, there is also litele information available on the likely
ingestion of salt by adult mosquitoes, or other substances in natural
sources of sugar that may have adverse effects on adult survival.

We tested the effect of salt on survival in nine species of adult mos-
quitoes, all having some relevance to human disease and quality of life.
Based on the established knowledge about the physiological responses
to salt feeding (e.g., Salama 1966, Sheplay and Bradiey 1982, Ignell
et al. 2010), we hypothesized that low concentrations of salt would
not affect adult survival, and we predicted that the addition of salt to
a standard sugar diet would not prove to be an effective control mech-
anism for adult mosquitoes. Given the rise of manufactured products
that claim to control mosquitoes via salt feeding, we replicated a set of
standard methods across five different research laboratories to test the
different species or species complexes of medically inyportant and pes-
tiferous species likely to be encountered by residents around the world.

Materials and Methods

This study represents the combined contributions of five labora-
tories who tested species available in their area, and although

the methods for the experiments were fundamentally the same,
there were slight differences that we highlight by laboratory loca-
tion (i.e., Australia = AU, USA laboratories are California = CA,
Louisiana = LA, Mississippi = MS, and Utah = UT). The nine species
included the following: Aedes aegypti (L.) (AU, LA), Ae. albopictus
(Skuse} (MS), Ae. notoscriptus (Skuse) (AU), Ae. dorsalis (Meigen)
(UT), Ae. vigilax (Skuse) (AU), Anopheles quadrimaculatus (Say)
(MS), Culex pipiens (L.) (UT), Cx. quinquefasciatus (Say) (CA),
and Cx. zarsalis (Coquillett} (CA). All species are important known
vectors of pathogens or nuisance-biting pest species and often are a
main focus of yector control and suppression.

Mosquito Colonies

Adult mosquitoes used in all experiments (except Aedes dorsalis)
were from colonies maintained in each laboratory using similar
rearing and husbandry protocols (Tale 1). Unless otherwise noted,
the environmental conditions for larvae were the same for all feeding
trials (detailed below). Aedes aegypti (LA) were reared under 28°C.
Aedes dorsalis were wild caught females that were trapped in field
cages using CO, as bait and supplied overnight with water but no
sugar until the next day when trials began. Aedes vigilax were reared
in diluted seawater with deionized water to a salinity of ~16 ppK.
Anopheles quadrimaculatus were purchased as eggs from Benzon
Research, Inc. {Cumberland County, PA).

Feeding Trials

Alliocations used similar environmental conditions for larval rearing
and feeding trials (unless noted), with feeding trials conducted either
in walk-in or separate smaller environmental chambers kept at 27°C
(28°C in the case of LA) on a 12:12 light-dark cycle (UT and MS
used a 1h transition from light to dark and dark to light to re-
flect natural conditions), Humidity was maintained between 50 and
75%. Cages were approximately 30 x 30 x 30 cm and were of ei-
ther a metal or plastic frame with mesh covering all sides, with the
exception of LA who used one quart paper cylindrical containers
(Stanpac, Inc. Ontario, Canada}. Into each cage, we added 20 adult
mosquitoes (10 males and 10 females) each 1-7 d old. Based on the
availability of adults, UT used 17-23 total adults for trials, although
an approximately equal sex ratio was still maintained and for Ae.
dorsalis only females were used. In the time between eclosion and
the start of the trials (<1 wk), adults were fed on a 10% sucrose
solution ad libitum under similar conditions as the feeding trials.
Female Aedes dorsalis were subjected to feeding trials the day after
they were collected from the wild.

For the feeding trials, we used four no-choice diets (i.e., adults in
each cage only had access to one of the four diets}: Water Only (neg-
ative control}, Salt Water Only (1.03% sodium chloride in water,
hereafter Salt Only), Sugar Water Only (8% sucrose in water, here-
after Sugar Only}, and Sugar + Salt Water (1.03% sodium chloride
and 8% sucrose in water, hereafter Sugar + Salt). Percentages used
were based on the product description from the most widely avail-
able commercial product (Spartan Mosquito Eradicator) but are
similar to other available products. These percentages reflect those
found after filling the container with fluid per the manufacturer’s
directions and not the percentages of dried product. Mosquitoes
are commonly fed a 10% sucrose solution in colonies under labora-
tory conditions. We replicated each diet three times for each species,
Liquid for each diet was added fresh on day 1 of the experiment and
replaced on day 4, Diets were added to vials with an exposed cotton
wick, The trials ran for 7 d and on each day, we recorded the number
of dead mosquitoes of each sex. Within each laboratory, all diets
were run concurrently for each species.

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Table 1. Detaits of mosquito species used to test the effect of salt on survival

 

Larvat diet

Blood source

 

Species, location Generation Origin
Aedes aegypti, AU Unknown {in AU
colony since
1980s}
Ae. aegypti, LA Unknown Rockefeller strain
Aedes albopictus, MS F, Hattiesburg, M$
Aedes dorsalis, UT Wild caught Salt Lake City, UT
adults
Aedes notoscriptus, AU Unknown (ia Sydney, AU
colony since
2020)
Aedes vigilax, AU Unknown (in Townsville, AU
colony since
1986)
Anopheles Unknown {in Gainesville, FL

quadrimaculatus, MS colony since

2611)

Culex pipiexs, UT Unknown (in Salt Lake City, UT
colony since
2016)
Culex quinguefasciatus, Unknown (in Merced, CA
CA colony since
1950s)
Culex tarsalis, CA Unknown (in Bakersfield, CA

colony since

1950s)

Ground fish flakes and
brewer’s yeast

Ground fish food

Puppy chow (Purina,
Inc.)
None

Equal parts brewer's
yeast and fish flakes

Rattus norvegicus, Western Sydney Local
Health District and University of Sydney
animal ethics approval number 8001/0410

Hemorek membrane system with bovine
blood

Japanese quail, Coturnix japonica, IACUC
#11092207

None

Rattus norvegicus under Western Sydney
Local Health District and University of

Equal parts brewer’s

Ground rabbit pellets

Fish flakes, liver

Fish fakes, liver

Sydney animal ethics approval number
§001/04-10

Rattus norvegicus under Western Sydney
Local Health District and University of
Sydney animal ethics approval number
8001/0410

yeast and fish flakes

Mixture of yeast and None

lactalbumin

Hemotek membrane system with bovine
blood

Ring-neck doves, Streptopelia capicol
powder, yeast, and

ground alfaléa pellets

Ring-neck doves, Streptopelia capicol
powder, yeast, and

ground alfalfa pellets

 

For cach species, we list the laboratory location (Australia = AU, United States includes California = CA, Louisiana = LA, Mississippi = MS, and Utah = UT)
where the trials were conducted, the generation of the mosquitoes, their origin, the dice for larval rearing, and the blood source for adults when used to produced

cpgs.

Statistical Analysis

Survival analyses were conducted for each species, separately, using
PROC PHREG in SAS (2004}. Individuals alive regardless of sex at
the end of the experiment yielded censored observations, which are
accounted for by the analysis. The overall model considered differ-
ences among all diets, but was not capable of determining where
specific differences existed. To determine differences between diets
{e.g., Salt Only vs Sugar Only), we conducted pair-wise comparisons
and adjusted the finaf P value to account for multiple comparisons
{P = 0,05/6 contrasts = 0.008), We did not analyze sex as a separate
factor given that none of the claims made by any of the manufac-
tures of the devices mentioned above suggest sex-specific results of
salt feeding, nor did we expect that males and females would differ
in their tolerance to ingestion of salt water.

Results

We found significant effects of dict on survival after 7 d of feeding
for all species (Table 2). Based on pair-wise comparisons be-
tween diets, we generally found significant differences between
two sets of diets: those with sugar (Sugar Only, Sugar + Salt),
with 7 d survival ranging from 60 to 90%, and those without
sugar (Water Only, Salt Only}, with 7 d survival ranging from 0
to 20% (Fig. 1A-D, &, H-J}. The two exceptions to this were for
An, quadrimaculatus, which showed intermediate survival in Salt
+ Sugar compared to either Sugar Only (highest survival), or to
Salt Only or Water Only (lowest survival) (Fig, 1G), and for Ae.
dorsalis wild females which had the lowest survival in Sait Only

Table 2. Results of survival analysis for mosquito species reared
across different diet environments

 

 

Species Location x2, df P value
Aedes aegypti AU 60.27, 3 «0,001
Aedes aegypti LA 89.91, 3 <0.001
Aedes albopictus MS 46.74, 3 <0.001
Aedes dorsalis uT 22.48, 3 <0.001
Aedes notoscriptus AU 91.06, 3 <0,001
Aedes vigilax AU 54.11, 3 <0.001
Anopheles quadrimaculatus MS $9.97, 3 <0.G01
Culex pipiens UT 102.62, 3 <0.001
Culex quinquefasciatus CA 107.28, 3 <0.001
Culex tarsalis CA 85.11, 3 «0.001

 

Laboratories where cach species were tested are included (Australia = AU,
United Saces includes California = CA, Louisiana = LA, Mississippi = MS, and
Utah = UT},

compared to all other diets (Fig. 1£). However, the addition of
salt to sugar never led to any species of mosquito co die at a faster
rate compared to sugar alone, with the minor exception of a 1-d
difference in the LA Ae. aegypti where survival in Salt + Sugar
was lower than Sugar Only on day 7 (Fig, 18). Among the genera,
Aedes divergence in adult survival in diets with sugar compared
to those without sugar often occurred between day 3 and 4 of
the experiment (Fig. LA-D, F), whereas for Culex, differences in
survival between sugar and no sugar diets were apparent almost
from the start of the experiment (Fig, 1H-]).

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A, Aedes aegypti, Australia origin

 
   
 

 

6. Agdes aegypti, Louisiana origin

 

 

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C. Aedes alhopictus, Mississlppl origin

 

 

DB, Aedes nofoscriptus, Australia ctigin

 

 

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E. Aedes dorsalis, Utah osigin

 

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G, Anopliels quadrimaculatus, Florida origin

 

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|. Culex quinquefasciatus, California origin

 

F. Aedes vigifax, Austratia origin

 

 

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Day of Experiment

H. Culex pipiens, Utah origin

 

 

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i. Culex tarsalis, Catifornia origin

 

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Fig. 1. Survivorship curves (mean 4 1 SE) across 7 d for mosquito spacies across different diets (open circle = Water Only, open square = Salt Water Only, gray
circle = Sugar Water Only, gray square = Sugar + Salt Water). For each species {A-J}, the arigin of that population is listed as in Table 1. Curves that share a letter
are not significantly different.
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Discussion

Our results from testing the effect of salt on the survival of nine
mosquito species of public health importance were clear: There
was no evidence from these trials that ingestion of salt had an
added lethal effect on adult mosquitoes. Thus, our data support
the hypothesis that low concentrations of salt would not affect
adult mosquito survival. In seven out of nine of our species, we
found that mosquitoes thar ingested a diet with salt and sugar
survived at rates equal to those fed a standard diet of sugar alone.
In the cases where this did not occur, the addition of salt caused
increased mortality, but in An. quadrimaculatus, 40% of adults
were still alive at the end of the experiment. For Aedes aegypti
from the LA colony, the difference in Salt Only and Salt + Sugar
diets was only apparent on the last day of the trial. For all but one
species, a diet with only saltwater did not lead to higher mozrtality
tates than water alone, and thus this strongly suggests that salt
by itself is not a detrimental substance for the mosquito digestive
system. Aedes dorsalis did show that a salt only diet led to higher
mortality compared to all other diets (including Salt + Sugar};
however, on the very first day of the experiment, this dict had
the lowest overall survival across all species tested, and we note
that survival overall was low across all diets (Fig. 1E}. Unlike the
other species that were reared from larvae in the laboratory, all
Ae. dorsalis females were wild caught and of unknown age and of
unknown sugar feeding status, and thus the higher overall mor-
tality on day 1 could reflect general attrition due to acclamation
to laboratory conditions. However, we still did not find evidence
that a salt and sugar diet compared to sugar only was detrimental
to this species.

[t is important to note that mosquitoes often are exposed to salt
in nature as part of their normal diet. Adult mosquitoes often in-
gest salts as a component of plant-derived sugars (reviewed in Peach
and Gries 2019} as well as blood (Clements 2000), Human blood is
0.9% salt and is commonly ingested by females of many species of
mosquitoes, including those tested here, to complete egg production.
However, mosquitoes have physiological mechanisms that allow
them to deal with excess salt from blood meals. Specifically, salts
like Na+, K+, and Cl, age first absorbed across the stomach and
are then rapidly eliminated by Malpighian tubules with coordinated
actions of the hindgut {Bradley 1987). In addition, after an adult fe-
male ingests a bloodmeal, they produce copious urine, which is more
sodium rich than that produced at other times. This diuresis rids fe-
males of 40% of the water, Na+, and Cl- in the ingested blaadmeal,
and 20% of the ingested weight (Sheplay and Bradley 1982). Thus,
salt ingestion by adults, perhaps even in levels exceeding those found
in human blood, are unlikely to lead to increased mortality given
that any detrimental effects are countered with physiological adap-
tations that adults already possess. We based our sale concentration
(1.03%) on product values listed on the most widely available com-
mercial product (Spartan Mosquito Eradicator), and note that this
salt concentration is approximately the same that is found in human
blood (0.9%). Thus, we can see no way that such a concentration
would kill adult mosquitees given that countless adult female mos-
quitoes have successfully taken a human bloodmeal and survived
to produce prodigious progeny. Indeed, salt water generally had the
same effect on adult survival as water alone, providing further evi-
dence that approximately 1% salt is not an effective agent of mos-
quito mortality.

Besides the ability to deal with excess salt ingested during feeding,
female mosquitoes also have been shown to simply avoid high salt
fluids. Salt detection itself is crucial for maintaining both the ionic

drive across the gut and maintaining the homeostatic environment
of the hemolymph (Salama 1966), Adult mosquitoes can detect salt
ia water using tarsal segments, which is likely how they evaluate
ingesting a nutrient source they touch (Christophers 1960, Salama
1966). Ignell et al. {2010} showed that Ae. aegypti rejected diets con-
taining high salt. Specifically, when offered a choice between varying
concentrations of sucrose and sucrose and salt, fewer mosquitoes
partook of the sucrose with added salt. The response appeared to
be bimodal based on salt concentration, with more feeding on su-
crose only in concentrations with either higher or lower than 1 mM
salt (Ingnell et al. 2010). Gonzales and Hansen (2016) demonstrated
that sucrose meals including either NaCl or CaCl, had higher me-
dian rejection thresholds by adults compared to other salts and other
chemicals (e.g., HCl}, This suggests that mosquitoes, in this case Ae.
aegypti, reject sucrose solutions that contain high concentrations of
salts relative to natural sugar meals. However, there are also data to
suggest that salts may be an important stimulatory factor for adult
feeding. For Cx. pipiens, NaCl at 150 mM acted as a phagostimulant
(Hosui 1959) and meals containing sodium chloride and sodium bi-
carbonate offered to Avopheles stephensi (Liston), An. freeborni
(Aitken), and An, dires (Petron and Harrison) all elicited greater
feeding, indicating that these chemicals were phagostimulatory
{Galun et al, 1985); none of these studies reported that higher in-
gestion of salt led to higher mortality. Even if salt can act to increase
feeding, there is no support from our results that it causes increased
mortality for the medically important species tested.

In addition to direct feeding on salt, there has been research to
investigate how salt may affect other mosquito life history stages and
activities, specifically in terms of egg hatching (e.g., Osborn et al.
2006, Yee et al. 213), larval survival and growth (Wigglesworth
1933, Bafiez 1963, Lee 1973, Ramasamy et al. 2011, Albers and
Bradley 2011), and oviposition behavior (Woodhill 1941, Wallis
1954, Foley and Bryan 1999, Navarro ¢t al. 2003). Although many
species of both saline tolerant and freshwater species have been
evaluated, none of these studies appear to suggest that salt is lethal
at low concentrations (e.g., <1.00%) to eggs or larvae. Furthermore,
where sait has been shown to affect some aspect of life history (eggs,
Yee et al. 2013), it also may modify behavior (e.g., oviposition} away
from locations with high salt (Woodhill £941, Navarro et al. 2.003).

Although devices currently marketed on social media and by
some manufacturers would appear to be, “too good to be true,” con-
sumers have already spent millions of dollars purchasing them, per-
haps at the expense of known effective approaches to killing adult
mosquitoes, Recent work by Aryapremea et al. (2020) found no ev-
idence that the Spartan Mosquito Eradicator reduces populations
of Aedes albopictus under controlled laboratory and field condi-
tions. These authors did not test the potential killing action of salt,
but focused on the efficacy of the entire product, which also makes
other claims (e.g., mosquitoes are attracted CO, produced via fer-
mentation by yeast). Our data specifically addressing the effect of
salt ingestion appear to support the conclusion of Aryaprema et al.
{2020) that the Spartan Mosquito Eradicator in its present formu-
lation does not reduce mosquito populations. In particular, we find
no evidence that salt ingestion in adult mosquitoes is an effective
control approach.

As in many instances state and federal laws do not require e&
ficacy data to support claims made by these devices, it is impor
tant to evaluate individual claims to better inform the public and
ensure that limited public health dollars are not needlessly wasted
on approaches that do not effectively control mosquitoes (Revay
et al. 2013). We would also caution that relying on an approach
that has no scientific basis may result in a false sense of security for

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homeowners, which may be dangerous in areas where mosquitoes
could potentially be transmitting pathogens.

Based on the response of nine medically important species of
mosquitoes to different diets, and the substantial literature on the
physiological and behavioral ways that mosquitoes deal with salt in
nature, we can conclude that there is no scientific or experimental ev-
idence to support the claims that salt-hased approaches are effective
for mosquito control as currently formulated. As adult mosquitoes
do not appear to suffer mortality from ingesting low doses of salt
in their dict, and higher concentrations of salt can be detected and
avoided by adults, we conclude that salt is ineffective for the control
of mosquito populations by individual consumers, regulatory agen-
cies, or mosquito control districts.

Acknowledgments

We thank $, O’Mcara for assistance in conducting an extensive literature re-
view on salt feeding and S. A. Juliano for advice about statistical analyses. We
also thank N. Reissea, C. Weinrich, G. Anderson, and J, Terme for field and
laboratory assistance. Work by R.C. Christofferson was supported by a grant
from the National Institutes of Health (RO1 GM122077). Two anonymous
reviewers provided constructive feedback that improved the final manuscript.

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EXHIBIT B
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EFFICACY OF COMMERCIAL ATTRACTIVE TOXIC SUGAR
BAIT STATION (ATSB) AGAINST AEDES ALBOPICTUS

VINDHYA S. ARYAPREMA, EDWARD ZESZUTKO,
COURTNEY CUNNINGHAM, EMAD I. M. KHATER AND RUI-DE XUE

Anastasia Mosquito Control District, 120 EOC Drive,
St. Augustine, FL, USA

Guest Editor: Gunter C. Muller

ABSTRACT

The use of toxic sugar baits is a new paradigm in mosquito control. A commercial product of attractive toxic sugar
bait station (Spartan Mosquito Eradicator) contains a toxic sugar bait with sodium chloride as the active ingredient and
yeast as an attractant. We studied the efficacy of the device against adult Aedes albopictus Skuse. The study composed of
a laboratory and a field component with treatment and control cohorts. The treatment in the laboratory experiment
resulted in nonsignificant mortality of adult mosquitoes compared with untreated mosquitoes. Neither laboratory nor
field components of the study showed significant evidence that the commercial product could reduce the abundance
of Ae. albopietus in the natural environment. The device may need to be improved and further evaluation conducted,

Key Words: attractive toxic sugar bait, Aedes albopictus, sodium chloride, efficacy

 

The use of toxic sugar baits (TSB)
targeting sugar feeding behavior of the
mosquito is an expanding technology in
the field of mosquito contro] (Fiorenzano
et al. 2017). Lea, in 1965 pioneered the
method with malathion in a sucrose solu-
tion formulating the first mosquito toxic
sugar bait (TSB) which was fed to Aedes
aegypti (Lea 1965). Since then, differ-
ent toxic substances including boric acid
(Blore et al 2018, Qualls et al. 2015, Xue
et al. 2006, Xue & Barnard 2003), euge-
nol (Qualls et al 2014), chlorfenapyr and
tolfenpyrad (Stewart et al. 2013) and iver-
mectin (Maia et al. 2018) have been evalu-
ated against a number of adult mosquito
vectors. Adult mosquitoes have easy access
to sugar sources, like floral and extra flo-
ral nectaries, rotted fruits and damaged
fruits in the environment (Bidlingmayer
1973, Foster 1995). Toxic sugar baits have
thus been supplemented with suitable at-
tractants that attract adult mosquitoes
for the bait in spite of the availability of
natural sugars (Qualls et al. 2014). Since
the control of mosquito populations with
traditional insecticides are becoming less
effective due to the development of resis-
tance (Deming et al. 2016), the ATSBs may

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be an important alternative option. New
ATSB products are therefore, considered
to be introduced to the market.

Spartan Mosquito Eradicator is a device
with an ATSB released to the market target-
ing control of adult mosquito populations.
The commercial device is a plastic tube
(5cm D x 27 cm H) containing a product of
11.48% sodium chloride (active ingredient-
the toxic substance), 0.18% yeast (the at-
tractant) and 88.34% sucrose as a dry pow-
der indicated on the label. The tube lid has
6 small holes of ~8 mm diameter through
which the mosquitoes are supposed to go in
and feed on the dissolved product. It is de-
signed to hang on trees or structures in the
environment. The purpose of this study was
to evaluate the effectiveness of the commer
cial product in reducing population densi-
ties of Aedes albopictus (Skuse,1894), an im-
portant vector of arboviral diseases, such as
dengue, zika and chikungunya (Kumari et
al. 2011, McKenzie et al, 2019, Monteiro et
al, 2019, Paupy et al. 2012, Sivan et al. 2016)
that is geographically well distributed over
the globe (Kraemer et al. 2015, Paupy et al.
2009).

The study was carried out from Octo-
ber to December 2019 in the laboratory and
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field. The commercial products were pur-
chased from online and shipped to AMCD
by BioOpus LLC for evaluation. The labora-
tory study was carried out in three mosquito
bug-dorms (BugDorm-2120 insect rearing
tent, MegaView Science Co., Ltd. ‘Taiwan)
each containing 5-7 day old, 100 female and
100 male Ae. albepictus obtained from the
insectary of the Anastasia Mosquito Control
District (AMCD). One bug-dorm was pro-
vided with a Spartan Mosquito Eradicator
tube with the original product dissolved in
water (treatment bug-dorm) as per the man-
ufacturer’s guidelines to make a solution of
450 ml. Once dissolved the actual propor-
tion of active ingredient in the solution was
1% and the proportion of sucrose was 8%.
The control bug-dorm was thus provided
with a Spartan Mosquito Eradicator tube
containing only 8% sucrose solution and
the other bug-dorm was provided with two
Spartan Mosquito Eradicator tubes, one with
the dissolved product and the other with 8%
sucrose solution to give the mosquitoes a
choice (choice bug-dorm). Number of dead
mosquitos in each bug-dorm (in both the
tube and the dorm) was counted at 24h in-
tervals for 72 hours. Temperature and rela-
tive humidity (RH) of the three laboratory
replicates ranged from 18.2 °C -24.6 °C and
RH: 56.1%-63.9% respectively.

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. Control

Mean % mortality

male

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Treatment Choice

 

The field study was carried out at two lo-
cations with large tire piles which are known
to have high abundance of Ae. albopictus. One
location was used as the control site and the
other as the treatment site rotating bi-weekly
to minimize any bias characterized to the loca-
tion. Five tubes were placed at each site, the
distance between each tube was 4 meters; the
tubes at the control site had the 8% sucrose
solution only and the tubes at the treatment
site had the dissolved Spartan product. Weekly
mortality counts in each tube were recorded.
One BG Sentinel trap (without CO,) was set
out weekly at each site for 24 hours and col-
lected mosquitoes were identified and count-
ed. The study was carried out for 8 weeks.

Notable control mortalities, mainly in
males, were observed for all laboratory repli-
cates in spite of all possible remedial measures
(Figure 1). Most of the dead mosquitoes were
found in the bug-dorm and comparatively
very few inside the tubes. It indicates that the
mosquitoes were dying due to deprivation of
water/sugar (desiccating) as they were not
able to enter the devices through the very
smal] holes. Comparatively low female mortal-
ity (Figure 1) was likely due to the generally
higher survival fitness of females. Mortalities in
both males and females were lower in choice
bug-dorms than in control bug-dorms (Figure
1), Each preferential bug-dorm having two

 

. Control Treatment Choice

female

 

Figure 1. Cumulative mortality of Aedes albopictus exposed to Spartan Mosquito Eradicator in comparison to
control mortality at different time periods under laboratory conditions

 
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hydrated Spartan Mosquito Eradicators likely
have been more saturated with water vapor
than contro] bug-dorms, thus allowing better
survival of mosquitoes.

In the field study, dead mosquitoes were
found only once in one treatment tube (2 Az.
albopictus and 1 Anopheles quadrimaculatus). Ae.

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albopictus collected in BG traps did not show
any evidence of reduction in abundance in
both males and females (Figure 2). Reductions
in the numbers collected in the last two repli-
cates were found in both control and treated
sites and could be attributed to environmen-
tal conditions. Furthermore, very high abun-

Male

 

 

 

 

 

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Pre Post Post 2

# Control

Post3 Post4 Post4 Post6 Post 7 Post 8

@ Treatment

Figure 2, Pre-treatment and post-treatment BioGent Sentinel trap collections of Aedes albopictus males and fe-

males during the field study
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dance of Ae. albopictus were casually observed
at both sites during each replicate except the
last one. Numbers of Ae. albopictus males and
females collected by BG traps did not show
any significant difference between control and
treatment sites (Mann-Whitney U=27, p=0.573
and U=28.5 and p= 0.709, respectively).

Both laboratory and field components
of our study show that the Spartan Mos-
quito Eradicator is not effective in reduc-

ing abundance of Ae. albopictus. To compete .

with many alternative sugar sources in the
natural environment the product should
be more attractive and the device should be
modified so that the mosquitoes can reach
the product easily and feed on it. A separate
study should be carried out to evaluate the
effectiveness of the active ingredient at the
concentration (1% sodium chloride) used
in the dissolved product.

ACKNOWLEDGEMENTS

Authors would like to acknowledge K.
Blore for rearing mosquitoes, R. Weaver, for
the technical help during the study, J. Hainze
for reviewing /editing the manuscript, and
BioOus, LLC for providing the commercial
products for the testing. This is a research re-
port only and does not mean that AMCD en-
dorses any commercial product.

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Hattiesburg man invents product to control mosquitoes

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May 12, 2017 at 11:52 PM CDT - Updated August 12 at 8:31 AM
HATTIESBURG, MS (WDAM) - A Hattiesburg man has invented a $20 product he says eradicates mosquitoes for 90 days.

Jeremy Hirsch, president and co-founder of Hattiesburg-based Spartan Mosquito, said the product has been in the works for
almost four years.

"Up to this point, all mosquito control measures were kind of a prophylactic, if you will," Hirsch said. "They didn't really kill the
mosquito, so we took what they were doing in Africa, experimentations and things that had been used. We kind of improved upon
that over the last three and a half years, and we came up with something that's very simple, very easy to use."

Spartan Mosquito eradicators are tubes sold in sets of two for about $20. Hirsch said the ingredients inside are like a sugar
cookie, without the flour.

"All you have to do is fill it up with water to here," Hirsch said demonstrating. "You put a cap on. You hang it in a tree, and you
don't have any mosquitoes for 90 days."

Hirsch said the water starts a chemical reaction inside the tube that releases carbon dioxide to mimic a human or an animal
breathing. That reaction, the sugar and the dark color of the tube attracts the mosquitoes. Two tubes cover a square acre of land
for about three months before they need to be replaced.

"We tested it from the Atlantic to the Pacific and beyond," Hirsch said. "From the marshes in Florida to the bayous in Louisiana,
and everywhere we test, it works phenomenal."

It's already been effective in one Pine Belt County. When Lamar County reported a Zika case last year, officials contacted Spartan
Mosquito.
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"They actually put up the mosquito bombs around the perimeter where the virus was identified," said Jody Waits, Lamar County
administrator. "When we first went on site, we did a count that showed it was a landing rate that was high. | mean, you could sit
there and just swat the mosquitoes away. Within two weeks, there was virtually no mosquitoes, so we found it worked very well."

Hirsch said, "The initial count at the Zika site was 27 when we responded, and two weeks later, that count was zero. It remained
at zero for the following three months, and, to date, that's the most successful response to Zika anywhere in the world on record,"

Hirsch said his biggest hurdle has been skepticism, and even Waits had his doubts until he saw the results.

"What they said worked, and if | hadn't seen it with my own eyes, | wouldn't have believed it," Waits said. "You know, mosquitoes
around here are pretty bad. I've bought two. They're in my yard right now, and we virtually have no problem.”

Lamar County has a contract to purchase additional tubes because the first set worked so well.

"Going forward, we have an order pending them," Waits said, "They're finalizing some EPA stuff that they need. Once they get
that finished, which | think that's been done this week, we're going to put them at our ball fields and parks within the
county because it really was rather amazing what it did.”

Hirsch said users should place the mosquito bombs on the edges of their property, so mosquitoes aren't being attracted and
swarming to an area near people.

"Anyone can use this from municipalities to governments to parks to homes, and residential is really what we care about the
most," Hirsch said. "It's really nice that we can partake at a government level, but it was founded to keep my family safe. The
point of this is to keep everybody's family safe."

Right now, the company is able to sell the mosquito bombs in nine states and Puerto Rico. Hirsch said the product could be
available for online purchase in Mississippi as early as Monday.

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601.707.8350 (tel: 16017078350)

Menu

Spartan Mosquito Eradicator
by Bryan Carter

 

 

 

 

         

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New Mississippi invention, the Spartan Mosquito Eradicator, devastates mosquito populations simply and affordably. Twa Spartan
Mosquito Eradicators cover approximately one acre, last 96 days, and sell for about 20 dollars per pair,
Contact Spartan Mosquito
1.844.625.2742 (tel:+1-844-625-2742)
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www.spartanmosquite.com (hitp://spartaamoesquite.com)
Inspiration for Invention

One summer afternoon in Hattiesburg, Mississippi, a husband decided that he was not okay with his pregnant wife having to soak herself in bug repeitent, He
had cause to be worried about mosquitoes, West Nile disease was actively being spread by mosquitoes in Mississippi.

Jeremy Hirsch, founder of Spartan Mosquito, began reading about mosquito control techniques being pioneered in Africa by the Gates Foundation and others,

He had noted the criticisms of the solutions being temporary. In many cases, product duration was determined by the next rain since it washed the products
away.

Later, Hirsch watched a hearing in congress where a repellent company’s response to the Zika oulbreak was to ramp up the manufacturing of its existing

repellent to 24 hours a day (and sell more product). Keep in mind that repellents do not kill mosquitoes, they only hope to keep mosquitoes at bay. He thought to
himself, “I can do better.” And, he did.

 

 

Bad News for Mosquitoes

Out of frustration, and then inspiration, came innovation. After many months of researching and prototyping new device ideas, Hirsch invented the Spartan
Mosquito Eradicator. This device stands to revolutionize the mosquito control industry world-wide, The Spartan Mosquito Eradicator attracts hunting
mosquitoes by emulating attractors of their natural prey — animals and people. Once the mosquitoes feed, they die. Female mosquitces feed just before they lay
eggs, which means the breeding cycle is also broken. The result is a solution that decimates the mosquito population within the range of the devices, with two
devices covering about an acre. This innovative concept stands to change the way people manage mosquitoes.

Suceess Criteria
According to Hirsch, the solution had to be effective, easy, affordable, Jong-lasting, and as safe as possible. The inventor created a device that only requires the
user to add warm water and hang it in the shade. Studies show that the device, once activated, provides greater than 95% mosquito control for 90 days.

To date, the device has been tested in both formal and informal environments from the swamps of Florida to the bayous of Louisiana, on the Mississippi coast,
in the Mississippi delta, and even in a Zika control area, In every case, mosquito “hits” (mosquito bites or landings) are reduced to near zero, or zero, within
weeks or even days,

The biggest wins for the customer are the effectiveness and the price point, making it a product for the masses. Consumers get two units for around $20, which
control approximately one acre and last 90 days, That is a fraction of the price of many mosquito control services and solutions.

Price point is also an advantage in taking the product to market. Hirsch says, “By bringing a product to market that is better than sprays, repellents, candles, and
repellent services, at a price point that is a fraction of the cost of professional spray services, we have opened up the market, We just received approval to sell in
10 states, including our home state of Mississippi, and began sales the same day we received approval. The response has been overwhelming after only a week.
The phones are ringing off the hook and the website traffic is outrageously high. People desperately want and need this product.”

Solteions for Success
Sparian has perfected two solutions.

The first solution, available now in select states, uses sodium chloride as an active ingredient. As a result, they have the same basic active ingredients as sugar
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cookies.
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The second formula uses boric acid as the active ingredient and only contains a fraction of boron or boric acid content found in direct contact products such as
eye washes, talcum powders, soaps, shampoos, and even Silly Putty®. This second solution is pending EPA approval before it can be sod to the public.

The devices are also designed to not harm honey bees, addressing the important issue of bee protection for farmers and environmentalists.

Geiting to Market
Spartan Mosquito is working diligently to make the Spartan Mosquito Eradicators widely available to the public in major retail outlets and to world health
organizations, government organizations, and nongovernment organizations worldwide, but they have to go through all of the channels for approval both at

home and abroad. Hirsch is attempting to get an early greenlight because mosquiloes are so dangerous and his product has ingredients at levels that have already
been deemed safe by the EPA in other products.

In the meantime, mosquitoes are carrying viruses, parasites, and diseases including the Zika virus, West Nile virus, and Malaria, and are actively transmitting
them to people.

On a Mission

The devastation mosquitoes bring to families, loved ones, and people of all ages is happening now. Fhe company goal is to help prevent the powerfully negative

effects of mosquitoes on people in the United States, and in mosquite infested communities abroad as quickly as possible, and many government officials are
supporting the product,

 

Positioned ta Succeed
This Mississippi manufacturer has found a way to help people with a device that works and is simple to use. They are positioned to corner the market with a

product that addresses a common and serious problem, is easily accessible, and has a low cost point and simple distribution plan, They are rapidly taking orders
and scaling their manufacturing.

Spartan Mosquito is a Mississippi business with a heartfelt mission and a strategy to succeed, Using the indicators of public response, market viabitity, critical
demand, and accessible pricing, they are well positioned to be Mississippi’s next successful international, multimillion-dollar manufacturing company — and
save lives in the process.

Spartan Mosquito is the manufacturer of the Spartan Mesquite Eradicator. The Spartan Mosquito Eradicator decimates mosquito populations easily and
affordably, for about 20 dollars for three months for one acre — reducing mosquito bites and landings by 95%. Spartan Mosquito Eradicators are available for
ordering online and expect to be in retail locations beginning in June 2017. For more information, visit www.spartanmosquite.com
fhttp:/spartanmosgquito.com),

Contact Spartan Mosquito
1.844,625.2742 (tel:+-1-844-625-2742)

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Distributors Buy Out Entire Spartan Mosquito Production Before Mosquito
Season Begins

It is only April and Spartan Mosquito, makers of the Spartan Mosquito Eradicator, have
already sold out of their entire year of planned production Jor 2019. Mosquito season has not
even started for most of the country.

 

LAUREL, Miss. (PRWEB) April 16, 2019 -- It is only April and Spartan Mosquito, makers of the Spartan
Mosquito Eradicator, have already sold out of their entire year of planned production for 2019. Mosquito
season has not even started for most of the country.

Spartan Mosquito launched Spartan Mosquito Eradicators for retail sale in 2017 with “mom and pop” stores in
just a few states. The company was selling in retail stores in all but three states in 2018, and also launched
online sales. This year, 2019, the company is fighting to keep up with demand for product and is fervently
working to increase production for 2020.

Spartan Mosquito Eradicators are tubes that are filled with warm water which mixes with the solution inside,
and are then hung on the perimeter of the yard or property. Mosquito populations are decimated with up to a
sustained 95% control rate in just a few weeks when deployed as directed. The tubes last up to 90 days.

The company was one of the fastest growing companies in 2018 and experienced a growth rate of over 800% in
Q1 2019 over QI 2018.

Spartan has announced that they will begin taking pre-orders for the 2020 season at the National Hardware
Show in Las Vegas from May 7-9, 2019, with first scheduled delivery on December 1, 2019.

Product will be available in retail markets supplied by the distributors and from the following Sponsored
Partners until they run out. For those who need product before December 2019, Spartan recommends contacting
the following Sponsored Partners.

For Distributors:

https: /Avww.durvet.com/distributor-members/
Brian A. Johnson: BrianJ@durvet.com

Todd Muenstermann: ToddM@durvet.com
Mike Gallagher: MikeG@durvet.com
1-800-821-5570

For Retailers:

https://Awdgholdings !

Stan White: info@wdgholdings.com
1-877-636-6413

For Consumers:
https:// artanontine.com/

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Contact Information
Bryan Carter
Think Webstore

hitp://thinkwebstore.com
+1 (601) 856-2000

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